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                                                                ctEnK,U.S.DISTRICT COURT
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                                  U N IT ED STAT ES D IST RICT CO U RT
                                         D ISTR IC T O F N EVA D A
      UN ITED STATES OF A M ERICA 1
                            Plaintiff,

                                                  2:l0-CR-473-KJD (GW F)
      A M BER SO ULETTE,


                               PR ELIM INA RY O RD ER O F FO RFEITU R E
               ThisCourtfindsthaton April19,2011,defendantA m berSoulettepled guilty to CountOne
      of a One-count Crim inal Indictm ent charging her w ith Title 18,U nited States Code, Section

      922(g)(1),FeloninPossessionofaFirearm.
               Rqhis Courttinds defendantA m berSoulette agreed to the forfeiturr ofthe property setforth
      in the ForfeitureAllegation ofthe Criminallndictm entand the PleaM em orandum .

               ThisCourttinds,pursuantto Fed.R.Crim,P.32.2(b)(l)and (2),the United Statesof
      Am ericahasshown therequisitenexusbetweenthepropeo setforth in theForfeitureAllegation of
      the Crim inallndictm entand the ot-
                                        lknse to which defendantA m ber Soulette plcd guilty.

               ThefollowingassetsaresubjecttotbrfeiturepursuanttoTitle18,UnitedStatesCode,Section
      924(d)(1)andTitle28,United StatesCode,Section 2461(c):
                  a Savage A nns,m odel720,sem i-autom atic 12 gauge shotgun,bearing serialnum ber
      92322;
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                 2. a Savage Arm s,m odel99E,308 caliberleveraction rifle,bearing serialnum ber1067233;
         and

                 3.Anyandallammunition(iiproperty'').
                 This Courttinds the U nited States ofA m erica is now entitled to,and should,reduee the
         aforem entioned property to the possession ofthe U nited StatesofAm erica.
                 N O W TH EREFORE,IT IS H EREB Y ORD ER ED ,AD JU DG ED ,AN D DECREED thatthe
         United States ofA m erica should seize the aforem entioned property,
                 IT IS FU RTHER ORD ERED .A D JUD G ED ,A N D DECREED a1lright,title,and interestof
         Am ber Soulette in the atbrem entioned property is forfeited and is vested in the United States of
         Am erica and shallbe safely held by the United StatesofAm erica untill-
                                                                               urtherorderofthe Court.
                 IT IS FU RTHER O RD ERED ,A DJU DG ED ,AN D D ECR EED theUnited StatesofAm erica
         shallpublish atleastonce a week forthree successive weeks in a new spaperofgeneralcirculation,
         the Las V egas Review Journal/sun,the notice of this Order,which shalldescribe the forfeited
         property,state thetim esundertheapplicable statute w hen a petition contesting theforfeiture m ustbe
    15 tiled,and state the nam e and contactinfbrm ation forthe governm entattorncy to be served w ith the

    16 pctition,pursuanttoFed.R.Crim.P.32.2(b)(6)andTitle21,UnitedStatesCode,Section853(n)(2).
                 IT IS FU RTH ER O RDER ED ,A D JUD GED ,A N D D ECREED apetition,ifanyrm ustbe tiled
         w ith the Clerk ofthe Court,333 LasV egas Boulevard South,Las V egas,N evada 89l0l.
                 IT IS FU RTHER O RDERED ,A DJU D GED ,AN D D ECREED a copy ofthepetition,ifany,
         shallbe served upon the A sset Forfeiture Attorney of the U nited States Attorney's O ffice at the
         follow ing address atthe tim e offiling:
                        D anielD ,H ollingsw orth
                        A ssistantUnited States Attorney
                        M ichaelHum phreys
                        A ssistantUnited States Attorney
                        Lloyd D .G eorge United States Courthouse
                        333 LasV egas Boulevard South,Suite 5000                                                !
                        Las Vegas,N evada 89101,                                                                j

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;            l           IT IS FURTH ER O RDERED ,A DJU D GED ,A ND D ECREED the notice described herein

i           2 need notbepublished intheeventaDeclaration ofForfeitureisissued bytheappropriateagency
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'            3 follow ing publication ofnotice of seizure and intentto adm inistratively forfeitthe above-described
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            4 property.
             5           DATED this t         day of                       ,   20ll.                                  I
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